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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                      MDL 2724
PRICING ANTITRUST LITIGATION                        16-MD-2724

THIS DOCUMENT RELATES TO:                           HON. CYNTHIA M. RUFE

ALL ACTIONS

                                          ORDER

       AND NOW, this 7th day of November 2018, upon consideration of the attached

Stipulation Regarding Briefing on Plaintiffs’ Motion to Compel on Global Issues [MDL Doc.

No. 714] and the States’ Motion to Compel Production of Documents Dating from 2006 [Doc.

No. 32 in Civil Action No. 17-3768] it is hereby ORDERED that the Stipulation is

APPROVED. It is further ORDERED that these Motions, and the Motions for an Order

Limiting Discovery [Doc. No. 228 in 16-DG-27240; Doc. No. 152 in 16-LD-27240; Doc. No.

182 in 16-PP-27240; Doc. Nos. 18 and 22 in Civil Action No. 18-284; Doc. No. 3 in Civil

Action No. 18-2641; Doc No. 12 in Civil Action No. 18-3299], have heretofore been

REFERRED to Special Discovery Master Bruce Merenstein for resolution pursuant to Pretrial

Order No. 49.

       It is so ORDERED.



                                            BY THE COURT:

                                            /s/ Cynthia M. Rufe
                                            _____________________
                                            CYNTHIA M. RUFE, J.
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                            MDL 2724
PRICING ANTITRUST LITIGATION                              16-MD-2724

THIS DOCUMENT RELATES TO:                                 HON. CYNTHIA M. RUFE

ALL ACTIONS

 STIPULATION REGARDING BRIEFING ON PLAINTIFFS’ MOTION TO COMPEL
ON GLOBAL ISSUES AND THE STATES’ MOTION TO COMPEL PRODUCTION OF
                   DOCUMENTS DATING FROM 2006

        WHEREAS, on September 25, 2018, the End-Payer Plaintiffs, Direct Purchaser Plaintiffs,

Indirect Reseller Plaintiffs, the Kroger Plaintiffs, and the States (collectively, “Plaintiffs”) filed a

Motion to Compel on Global Issues against certain Defendants (“Plaintiffs’ Motion to Compel”)

(ECF No. 714, on 2:16-md-2724);

        WHEREAS, on September 25, 2018, the States filed a Motion to Compel Production of

Documents Dating from 2006 against certain Defendants (“States’ Motion to Compel”) (ECF No.

32, on 2:17-cv-03768);

        WHEREAS, after discussion, the Parties agreed to an amended briefing schedule on the

Plaintiffs’ Motion to Compel and the States’ Motion to Compel to provide Defendants with a two-

week extension of time, or until October 23, 2018, in which to respond to these two motions;

        WHEREAS, the Parties further agreed that Plaintiffs shall have 15 days, or until November

7, 2018, to file a reply brief;

        WHEREAS, the Parties also agreed that if, after receiving Defendants’ opposition briefs

Plaintiffs and/or the States determine that an extension of time beyond November 7, 2018 in which

to file their reply briefs is warranted, after meeting and conferring Defendants will not

unreasonably withhold consent to such extension and the Parties will submit to the Court a further

stipulation regarding the filing of Plaintiffs’ reply briefs;

        WHEREAS, on October 23, 2018, certain Defendants submitted individual briefs and other
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Defendants submitted joint briefs in opposition to one or both of the Plaintiffs’ Motion to Compel

and the States’ Motion to Compel;

       WHEREAS, given the number of opposition briefs filed and the complexity of the issues,

and to enable time in which to coordinate their respective replies for the convenience of the Court,

Plaintiffs require additional time in which to respond to Defendants’ ten opposition briefs.

       It is HEREBY STIPULATED AND AGREED that Plaintiffs shall have until November

19, 2018 to file reply briefs in further support of Plaintiffs’ Motion to Compel and the States’

Motion to Compel;

       It is FURTHER STIPULATED AND AGREED that Plaintiffs’ reply briefs shall be limited

to 15 double-spaced pages if responding to a joint brief (MDL Dkt. No. 744; 17-cv-3768, Dkt. No.

40), and 10 double-spaced pages if responding to any other opposition brief;

       It is FURTHER STIPULATED AND AGREED that Defendants shall have until December

3, 2018 to file sur-reply briefs, if any, in further opposition to Plaintiffs’ Motion to Compel and

the States’ Motion to Compel;

       It is FURTHER STIPULATED AND AGREED that Defendants’ sur-reply briefs, if any,

shall be limited to 15 double-spaced pages if in further support of a joint opposition (MDL Dkt.

No. 744; 17-cv-3768, Dkt. No. 40), and 10 double-spaced pages if in further support of an

individual opposition.

       IT IS SO STIPULATED.

 Dated: October 29, 2018

 /s/ Roberta D. Liebenberg                           /s/ Jan P. Levine
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